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                                                      Main Document Page 1 of 3



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                                                                               BY handy      DEPUTY CLERK
                 6
                   Attorneys for Defendant and Counterclaimant Bradley Land Company
                 7

                 8                                     UNITED STATES BANKRUPTCY COURT

                 9                                      CENTRAL DISTRICT OF CALIFORNIA

             10                                                       NORTHERN DIVISION

             11 In re                                                             Case No. 9:19-bk-11573-MB

             12 HVI CAT CANYON, INC.,                                             Chapter 11

             13                           Debtor.                                 Adv. Pro. Case No. 9:20-ap-01011-MB

             14
                MICHAEL A. McCONNELL, CHAPTER 11                                  ORDER GRANTING STIPULATION FOR
             15 TRUSTEE,                                                          DISMISSAL OF MOTION TO SEVER
                                                                                  CLAIMS AGAINST, AND
             16                           Plaintiff,                              COUNTERCLAIM OF, BRADLEY LAND
                                                                                  COMPANY
             17                  vs.
                                                                                  Judge: Martin R. Barash
             18 DONNA JEAN AANERUD, an individual;                                Date:    May 19, 2020
                etc.,                                                             Time:    10:30 a.m.
             19                                                                   Courtroom: 201
                             Defendants.                                          Address:    1415 State Street
             20 BRADLEY LAND COMPANY, a California                                            Santa Barbara, CA 93101
                corporation,
             21
                             Counter-Claimant,
             22
                       vs.
             23
                MICHAEL A. McCONNELL, CHAPTER 11
             24 TRUSTEE,

             25                           Counter-Defendant.
             26
             27 And Related Counter-Claims and Cross-
                Claims
             28
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& GARRETT LLP        1215024.1                                                1
                     ORDER GRANTING STIPULATION FOR DISMISSAL OF MOTION
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                 1               The Court, having considered the Stipulation for Dismissal of Motion to Sever Claims

                 2 Against, and Counterclaim of, Bradley Land Company between Plaintiff and Counter-Defendant

                 3 Michael A. McConnell, chapter 11 trustee (“Plaintiff”) and Defendant and Counter-Claimant

                 4 Bradley Land Company (“Bradley”) providing for withdrawal, on the terms set forth therein, of

                 5 Bradley’s Motion to Sever Claims Against, and Counterclaim of, Bradley Land Company

                 6 [Adversary Proc. Docket No. 170] (“Motion to Sever”) in the above-styled adversary proceeding.

                 7 By its Motion to Sever, Bradley seeks to sever the claims asserted against or by Bradley from the

                 8 claims asserted against or by the other defendants in this adversary proceeding,

                 9 ////

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                     ORDER GRANTING STIPULATION FOR DISMISSAL OF MOTION
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                 1 IT IS HEREBY ORDERED that:

                 2               1.   The Stipulation is approved;

                 3               2.   The Motion to Dismiss is withdrawn, and the claims asserted against or by Bradley

                 4 in this adversary proceeding may be resolved in the main adversary proceeding together with the

                 5 resolution of all other claims asserted in this adversary proceeding.

                 6               3.   Notwithstanding the foregoing, (A) Bradley shall not be bound by any

                 7 determination in this adversary proceeding of the characterization of any agreement to which

                 8 Bradley is not a party as a lease of non-residential real property, as an executory contract, or as

                 9 property of the estate not subject to section 365 of the Bankruptcy Code, unless the terms of that

             10 non-Bradley agreement are substantially similar to the terms of one or more agreement to which

             11 Bradley is a party, and then only with respect to the Bradley agreement or agreements that contain

             12 the substantially similar terms and (B) Bradley shall not be deemed a party to, and shall not be

             13 bound by any determination in this adversary proceeding of, any counter-claim or cross-claim

             14 asserted by any other defendant.

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                     Date: May 15, 2020
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& GARRETT LLP        1215024.1                                        3
                     ORDER GRANTING STIPULATION FOR DISMISSAL OF MOTION
